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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

A.O.A., et al.,                              )
                                             )
              Plaintiffs,                    )
                                             )
         v.                                  )        Case No. 4:11 CV 44 CDP
                                             )
IRA L. RENNERT, et al.,                      )
                                             )
              Defendants.                    )

                               MEMORANDUM AND ORDER

         Pursuant to Amended Case Management Order 17 (ECF 1195), which was

filed August 19, 2021, all motions for summary judgment and motions to exclude or

limit expert testimony were due to be filed not later than November 15, 2021, with

full briefing on the motions to be completed not later than May 23, 2022. All parties

complied with those deadlines. On January 20, 2023, I largely denied one of those

motions – defendants’ Motion for Application of Peruvian Law and Summary

Judgment Under Peruvian Law, or, Alternatively, Dismissal Under Transnational

Law Doctrines. (See ECF 1322.) On April 3, 2023, the Eighth Circuit Court of

Appeals granted defendants leave to take an interlocutory appeal and, five months

later – on September 5, 2023 – I applied the reasoning of the Supreme Court’s June

2023 decision in Coinbase, Inc. v. Bielski1 and stayed all proceedings in this case


1
    143 S. Ct. 1915 (2023).
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pending that appeal. (ECF 1380.) On August 1, 2024, the Eighth Circuit affirmed

my January 2023 Order. Reid v. Doe Run Res. Corp., 110 F.4th 1049 (8th Cir. 2024).

Mandate issued September 3, 2024, and I lifted the stay on September 24.

Defendants filed a petition for certiorari with the Supreme Court on November 27,

2024. That petition was denied March 3, 2025. 604 U.S. ___, No. 24-601, 2025 WL

663701 (Mar. 3, 2025).

        Defendants now seek leave to file a renewed motion for summary judgment so

that they may raise an additional argument addressing their affirmative defense under

Article 1971 of Peru’s Civil Code. In my January 2023 Order, I determined that

Peruvian law applied to defendants’ Article 1971 defense, but I denied defendants

summary judgment thereon given that there existed genuine issues of material fact on

Article 1971’s application to the particular facts of this case.2 In their motion for

leave, defendants assert that because a relevant legal argument on their defense did

not become available until my January 2023 ruling, and this case was stayed “shortly

after” the January 2023 Order (ECF 1440 at p. 4), they “moved quickly to file this

motion as soon as practicable.” (ECF 1439 at p. 3.) With its motion for leave,

defendants have submitted their proposed renewed motion for summary judgment,

memorandum in support, and 22 exhibits, including the declaration of a Peruvian law

expert.

2
 I based that determination in part on the testimony of defendants’ own expert who testified that
whether DRP did or did not meet the criteria for Article 1971 exclusion from liability was a
“factually dense question.” See Memo. & Ord., ECF 1322 at p. 27.

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        Upon careful review of the defendants’ motion for leave, the status of the

proceedings in the case, defendants’ affirmative defenses raised in their answer to

plaintiffs’ amended complaint, and their previously asserted arguments seeking

summary judgment under Peruvian law, I do not find that good cause exists to grant

defendants leave to file their renewed summary judgment motion nearly three-and-a-

half years after the deadline, more than two years after the January 2023 ruling that

they claim provided the basis for their new argument,3 and more than five months

after the stay in the case was lifted. See Fed. R. Civ. P. 6(b). I will therefore deny

their motion for leave. By this ruling, I am not forever barring defendants from

arguing or presenting evidence on this aspect of their affirmative defense. Instead,

the matter will be taken up at the trial of the case.

        Accordingly,

        IT IS HEREBY ORDERED that defendants’ Motion to File Out of Time

Renewed Motion for Summary Judgment Under Article 1971 with Accompanying

Expert Declaration [1439] is DENIED.




                                                CATHERINE D. PERRY
                                                UNITED STATES DISTRICT JUDGE

Dated this 7th day of March, 2025.


3
  As noted above, I stayed the case in September 2023, which was nearly eight months after I issued
this ruling.

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